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 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Kimberly Driesen,                 ) Case No.
10
                                       )
     Plaintiff,                        ) COMPLAINT AND TRIAL BY JURY
11                                     ) DEMAND
            vs.                        )
12
                                       )
13   Progressive Management Systems and)
     Juan Medina-Vargas,               )
14
                                       )
15   Defendants.                       )
16
                                       NATURE OF ACTION
17

18           1.    This is an action brought under the Fair Debt Collection Practices Act
19
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
20
                                   JURISDICTION AND VENUE
21

22           2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23
     1331.
24
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
25

26   the acts and transactions giving rise to Plaintiff’s action occurred in this district, (where
27   Plaintiff resides in this district), and/or where Defendants transact business in this district.
28




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 1                                          PARTIES
 2
           4.     Plaintiff, Kimberly Driesen (“Plaintiff”), is a natural person who at all
 3

 4
     relevant times resided in the State of Arizona, County of Mohave, and City of Fort

 5   Mohave.
 6
           5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 7

 8
           6.     Defendant, Progressive Management Systems (“PMS”) is an entity who at

 9   all relevant times was engaged, by use of the mails and telephone, in the business of
10
     attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
11
           7.     Defendant, Juan Medina-Vargas (“Medina-Vargas”) is an individual who at
12

13   all relevant times was engaged, by use of the mails and telephone, in the business of
14
     attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
15
           8.     “Employees can be held personally liable under the FDCPA.” Robinson v.
16

17   Managed Accounts Receivable Corp., 654 F. Supp. 2d 1051, 1059 (C.D. Cal. 2009); see
18
     Schwarm v. Craighead, 552 F. Supp. 2d 1056, 1070-71 (E.D. Cal. 2008).
19
           9.     Furthermore, “most district courts that have addressed the issue have held
20

21   that the corporate structure does not insulate shareholders, officers, or directors from
22   personal liability under the FDCPA.” Schwarm v. Craighead, 552 F. Supp. 2d 1056,
23
     1070-71 (E.D. Cal. 2008); see Kistner v. Law Offices of Michael P. Margelefsky, L.L.C.,
24

25   518 F.3d 433, 437-38 (6th Cir. 2008); del Campo v. Kennedy, 491 F. Supp. 2d 891, 903

26   (N.D.Cal.2006); Brumbelow v. Law Offices of Bennett & Deloney, P.C., 372 F.Supp.2d
27
     615, 618-21 (D. Utah 2005); Albanese v. Portnoff Law Assocs., Ltd., 301 F. Supp. 2d
28
     389, 400 (E.D. Pa. 2004); Musso v. Seiders, 194 F.R.D. 43, 46-47 (D.Conn.1999); Brink


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 1   v. First Credit Res., 57 F. Supp. 2d 848, 861-62 (D. Ariz. 1999); Pikes v. Riddle, 38 F.
 2
     Supp. 2d 639, 640 (N.D. Ill. 1998); Ditty v. CheckRite, Ltd., 973 F. Supp. 1320, 1337-38
 3

 4
     (D. Utah 1997); Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1372 (E.D.

 5   Cal.1995); Teng v. Metro. Retail Recovery Inc., 851 F. Supp. 61, 67 (E.D. N.Y. 1994).
 6
            10.    Progressive Management Systems Juan Medina-Vargas (“Defendants”) are
 7

 8
     “debt collectors” as defined by 15 U.S.C. § 1692a(6).

 9                                 FACTUAL ALLEGATIONS
10
            11.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
11
     owed or due, or asserted to be owed or due a creditor other than Defendants.
12

13          12.    Plaintiff's obligation, or alleged obligation, owed or due, or asserted to be
14
     owed or due a creditor other than Defendants, arise from a transaction in which the
15
     money, property, insurance, or services that are the subject of the transaction were
16

17   incurred primarily for personal, family, or household purposes. Plaintiff incurred the
18
     obligation, or alleged obligation, owed or due, or asserted to be owed or due a creditor
19
     other than Defendants.
20

21          13.    Defendants use instrumentalities of interstate commerce or the mails in a
22   business the principal purpose of which is the collection of any debts, and/or regularly
23
     collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
24

25   owed or due another.

26          14.    Defendants contact Plaintiff’s employer, and spoke with Plaintiff’s
27
     supervisor on four (4) separate occasions [Mark Sahagian], and in each such instance,
28
     Defendants communicated with said third party for purposes other than obtaining


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 1   location information, disclosed its identity without being expressly requested to do so by
 2
     said employment supervisor, and disclosed to said third party the existence of an alleged
 3

 4
     debt owed by Plaintiff. (15 U.S.C. §§ 1692b, 1692b(1), 1692b(2), 1692b(3), 1692c(b)).

 5          15.      Defendants placed multiple calls to Plaintiff’s work telephone while
 6
     Plaintiff was at her place of employment, during normal business hours, a time and place
 7

 8
     Defendants knew, or should have known, to be inconvenient for Plaintiff and contrary to

 9   the policy of Plaintiff’s employer. (15 U.S.C. §§ 1692c(a)(1), 1692c(a)(3)).
10
            16.      Defendants continued to place telephone calls to Plaintiff after Plaintiff sent
11
     Defendants a cease and desist letter and requested to have all further communication
12

13   conducted in writing. (15 U.S.C. § 1692c(c)).
14
            17.      Defendants’ actions constitute conduct highly offensive to a reasonable
15
     person, and as a result of Defendants’ behavior Plaintiff suffered and continues to suffer
16

17   injury to Plaintiff’s feelings, personal humiliation, embarrassment, mental aguish and/or
18
     emotional distress.
19
                                             COUNT I
20
                                          DEFENDANT PMS
21
            18.      Plaintiff repeats and re-alleges each and every allegation contained above.
22

23          19.      Defendant violated the FDCPA as detailed above.

24          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
25
                  a) Adjudging that Defendant violated the FDCPA;
26

27
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the

28                   amount of $1,000.00;



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 1            c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 2
              d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
 3

 4
                 action;

 5            e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 6
                 allowed under the law;
 7

 8
              f) Awarding such other and further relief as the Court may deem just and

 9               proper.
10
                                     COUNT II
11                           DEFENDANT MEDINA-VARGAS
12
        20.      Plaintiff repeats and re-alleges each and every allegation contained above.
13
        21.      Defendant violated the FDCPA as detailed above.
14

15      WHEREFORE, Plaintiff prays for relief and judgment, as follows:
16
              g) Adjudging that Defendant violated the FDCPA;
17
              h) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
18

19               amount of $1,000.00;
20
              i) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
21
              j) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
22

23               action;

24            k) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
25
                 allowed under the law;
26

27
              l) Awarding such other and further relief as the Court may deem just and

28               proper.



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 1

 2
                                     TRIAL BY JURY
 3

 4
        Plaintiff is entitled to and hereby demands a trial by jury.

 5             Respectfully submitted this 15th day of November, 2010
 6
                              By: s/ Marshall Meyers
 7                            Marshall Meyers (020584)
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                                          Complaint - 6
